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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 SUMAYA HUSSEIN, on behalf of herself              )
 and all others similarly situated,                )
                                                   )   Case No. 1:23-cv-3482
                            Plaintiff,             )
               v.                                  )   Hon. Heather K. McShain
                                                   )
 EDIBLE ARRANGEMENTS, LLC,                         )   Magistrate Judge Harry D. Leinenweber
                                                   )
                            Defendant.             )


                AGREED MOTION FOR ENTRY OF CONSENT JUDGMENT

         NOW COMES, Plaintiff, by and through counsel of record, and Defendant, by and through

its undersigned counsel of record, and for their Agreed Motion for Entry of Consent Judgment,

hereby states as follows.

         1.     On June 2, 2023, Plaintiff filed the instant declaratory judgment action. (Doc. 1).

Plaintiff’s class action Complaint alleges that Defendant’s website is a place of public

accommodation, which is allegedly not accessible to visually disabled persons in violation of the

Americans with Disabilities Act. While Defendant does not admit liability, the parties have

reached an early settlement to avoid the cost and inconvenience of litigation and to address the

issues raised by this action in a mutually acceptable fashion which also serves the public interest.

         2.     As such, the parties respectfully request that the Court so-order the Consent Decree,

which has been fashioned as a reasonable resolution of Plaintiff’s claims. The Consent Decree (1)

springs from and serves to resolve a dispute within the Court’s subject-matter jurisdiction, (2)

comes within the general scope of the case made by the pleadings, and (3) furthers the objectives

of the law upon which the Complaint was based. See Local Number 93, Int’l Ass’n of Firefighters

v. City of Cleveland, 478 U.S. 501, 525 (1986)); accord, Crosson v. Popsockets LLC, No. 19-cv-


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200 (CBA)(LB), 2019 WL 6134416, at *2 (E.D.N.Y. Oct. 8, 2019), adopted by 2019 WL 6134153

(Nov. 19, 2019); Riverkeeper, Inc. v. MLV Concrete Inc., No. 14-cv-3762 (LDH)(PK), 2017 WL

3172897, at *2 (E.D.N.Y. June 26, 2017), adopted by 2017 WL 3172859 (July 25, 2017). See also

Figueroa v. Arhaus, LLC, No. 18 Civ. 10491 (GWG) (S.D.N.Y. Feb. 20, 2019) (DE 16) (applying

the above standard in a similar ADA website action to approve a consent decree in an action

between private parties).

       3.      Additionally, the Consent Decree is designed to serve as a shield for Defendant

against claims by other potential plaintiffs who may come forward to assert similar claims based

upon the putative access violations that are being addressed and resolved pursuant to this

settlement. Duplicative suits have been a recurring problem in similar matters handled by Defense

counsel’s firm and other attorneys defending these matters around the country.

       4.      The attorneys for Defendant have resolved more than 125 other ADA website class

actions in other districts in which similar consent decrees have been so-ordered. Representative

cases in which decrees have been entered are Figueroa v. Magnolia Bakery Online LLC, SDNY,

18-cv-9892 (PAE)(BCM), April 4, 2019 (DE 19); Foley v. Makita U.S.A., Inc., WDNY, 19-cv-

01460 (CCR), February 12, 2020 (DE 11); Sanchez v. Royal Cup Inc., 21-cv-02353 (VSB), SDNY,

May 6, 2021 (DE 10); Sanchez v. USGB LLC, 21-cv-02294 (GBD), SDNY, June 10, 2021 (DE

12); Kiler v. The Farm Project, PBC, 21-cv-01747 (WFK), EDNY, June 28, 2021 (DE 8);

Hanyzkiewicz v. Jewelry Supply, Inc., 22-cv-00316 (DG)(CLP), EDNY, June 13, 2022 (DE 13);

Iskhakova v. Korean Air Lines Co., Ltd., 22-cv-00611 (RPK), EDNY, August 21, 2022 (DE 16);

Thorne v. University of Evansville, 23-cv-00816 (LGS), SDNY, June 13, 2023 (DE 21); Santos v.

A-1 Screenprinting, LLC, NDNY, 23-cv-00335(BKS)(ML), September 15, 2023 (DE 20);




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Mahoney v. PMC Property Group, Inc., ED PA, 23-cv-01666 (BMS), October 5, 2023; and

Hussein v. Artist Frame Service, Inc., ND ILL 1:23-cv-03478 (LCG), October 16, 2023.

        5.       Plaintiff and Defendant have agreed to the entry of the Consent Judgment attached

hereto as Exhibit 1, and the parties respectfully request the Court to enter this Consent Judgment.

        WHEREFORE, the parties respectfully request the Court enter the Consent Judgment filed

herewith and for such other and further relief the Court deems just and proper under the

circumstances.


Dated: January 11, 2024
                                                          Respectfully Submitted,

                                                          LEWIS BRISBOIS BISGAARD &
                                                          SMITH LLP

                                                          /s/ Rachel S. Mahoney____________
                                                              One of Defendant’s Attorneys



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